888 F.2d 1386Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Clifton JOHNSON, Jr., Plaintiff-Appellant,v.Barbara GASSAWAY, Defendant-Appellee.
    No. 89-7701.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 2, 1989.Decided Oct. 20, 1989.
    
      Robert Clifton Johnson, Jr., appellant pro se.
      John Joseph Curran, Jr., (Office of the Attorney General of Maryland, Janet Klein Brown, Clifton T. Perkins Hospital Center, for appellee.
      Before DONALD RUSSELL, WIDENER, and PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Clifton Johnson, Jr. appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Johnson v. Gassaway, C/A No. 89-482-N (D.Md. June 19, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    